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            IN THE UNITED STATES DISTRICT COURT
          FOR THE MIDDLE DISTRICT OF PENNSYLVANIA

BRIAN J. BOLUS, et al.,                            No. 4:15-CV-01062

           Plaintiffs,                             (Judge Brann)
     v.

AMY CARNICELLA, et al.,

           Defendants.

                                     ORDER

     AND NOW, this 24th day of July 2020, in accordance with the

accompanying Memorandum Opinion, IT IS HEREBY ORDERED that:

  1. The Office of Attorney General’s Motion for a Protective Order, Doc. 128,

     is GRANTED.

  2. All documents produced by the Office of Attorney General during the course

     of this litigation will not be publicly disclosed unless disclosure occurs with

     consent of the Office of Attorney General or under seal.

  3. The Clerk of Court is directed to seal the documents attached as Exhibits D

     through G to Plaintiffs’ Brief in Support of Plaintiffs’ Motion to Compel,

     see Doc. 121.

                                             BY THE COURT:

                                             s/ Matthew W. Brann
                                             Matthew W. Brann
                                             United States District Judge
